Case 4:05-cr-00059-JRH-CLR Document 1151 Filed 06/10/08 Page 1 of 1

 Case 4:05-cr-00059-BAE Document 1 149-5                 Filed 06/05/2008 Page 1 of 1



                                    UNITED STATES DiSTRICT COURT
                                    SOUTHERN DISTRICT OF GEORGIA
                                         SAVANNAH DIVISION

                                          CASE NO. CR405-59


THE (IN ITED STATES OF AMERICA,

                 Plaintiff,

                           V.


MARTIN J. BRADLEY, III; MARTIN J.
BRADLEY, JR.; JOSE A. TRESPALAC1OS;
EDWIN RIVERA, JR.; ALBERT L.
TELLECHEA; MARLENE C. CACERES;
STEPHEN B. GETZ; SARA E. GRIFFiN;
and BIO-MED PLUS, INC.,

                  Defendants.


                          ORDER GRANTING RECEIVER'S MOTION TO
                             CONFIRM SALE OF REAL PROPERTY

        THIS CAUSE came before the Court upon the Receiver's Motion to Confirm Sale of 0

Entelman Avenue, Savannah, Georgia, (the "Motion to Confirm"). The Motion to Confirm,

having been filed with this Court and duly served upon all interested parties; and the Court,

having reviewed the Motion to Confirm and good cause appearing therefore, it is hereby,

         ORDERED AND ADJUDGED as follows:

         The Motion to Confirm is hereby GRANTED and the Receiver is authorized to sell the

property located at 0 Entelman Avenue, Savannah, Georgia.

         This /' day of- '1J9, 2008.




                                                UNITED STATES DISTRICT C RT
                                                SOUTHERN DISTRICT OF GEORGIA
Copies to all counsel of record
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